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                                        #:238


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13
                              UNITED STATES DISTRICT COURT
14
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     UNITED STATES OF AMERICA,                No. CR 24-CR-00103-MWF
16
               Plaintiff,                     [PROPOSED] ORDER GRANTING LEAVE TO
17                                            FILE OPPOSITION MEMORANDUM IN
                     v.                       EXCESS OF 7000 PAGES
18
     ROGER KEITH VER,
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               Defendant.
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     Case 2:24-cr-00103-MWF     Document 33-1 Filed 01/13/25   Page 2 of 2 Page ID
                                         #:239


 1          FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED that the United

 2   States may file a memorandum of points and authorities in support of

 3   its opposition to defendant’s motion to dismiss containing not more

 4   than 10,500 words.

 5          IT IS SO ORDERED.

 6

 7

 8   DATE                                     HONORABLE MICHAEL W. FITZGERALD
                                              UNITED STATES DISTRICT JUDGE
 9
     Presented by:
10
          /s/
11   JAMES C. HUGHES
     Assistant United States Attorney
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